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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

                                              §
THE DAILY WIRE, LLC, et al.,                  §
                                              §
         Plaintiffs,                          §
                                              §
v.                                            §    Case No. 6:23-cv-609-JDK
                                              §
UNITED STATES DEPARTMENT OF                   §
STATE, et al.,                                §
                                              §
         Defendants.                          §
                                              §

                 PRELIMINARY INJUNCTION SCHEDULING ORDER
        Pursuant to Federal Rule of Civil Procedure 16(b) and the Eastern District of
 Texas Local Rules (except as modified herein), the Court, having considered the Joint
 Discovery Plan and Proposed Schedule submitted by the parties, finds that the
 following schedule should govern this case.

       This order supersedes and replaces any dates or deadlines in the Court’s
 previous Order Granting Expedited Discovery (Docket No. 54).

     June 10, 2024         Defendants serve written responses and objections to RFPs
                           and Interrogatories served by Plaintiffs on May 9, 2024.
     June 14, 2024         Parties exchange Rule 26(a)(1) Initial Disclosures and file
                           Proposed Protective Order, Clawback Agreement, and ESI
                           Protocol.
     June 30, 2024         Deadline to file a joint statement on any unresolved discovery
                           disputes based on Defendants’ written responses and
                           objections to the RFPs and Interrogatories. The statement
                           must include a specific request for the relief sought.

                           Lead counsel for each party must meet and confer as required
                           by Local Rule CV-7(h) either in person or by telephone before
                           filing a statement.
     July 12, 2024         Defendants Begin Rolling Production of Documents
                           Responsive to Expedited RFPs. Defendants will produce
                           privilege logs on a rolling basis. The parties agree that
                           privileged communication between the parties’ litigation
                           counsel and their clients occurring after this suit commenced,


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                   or amongst agency litigation counsel discussing matters
                   related to this litigation, may be excluded from privilege logs.
September 3, 2024  Answer Due.
September 30, 2024 All documents and privilege logs from Expedited RFPs
                   produced.
October 10, 2024   Plaintiffs provide Defendants notice of intent to seek
                   depositions or additional third-party subpoenas for
                   preliminary injunction.
October 17, 2024   Deadline to file any motions concerning Plaintiffs’ notice of
                   intent to seek depositions or additional third-party
                   subpoenas for preliminary injunction.

                      Lead counsel for each party must meet and confer as required
                      by Local Rule CV-7(h) either in person or by telephone before
                      filing any motions.
October 21, 2024      Deadline for responses to any motions concerning Plaintiffs’
                      notice of intent to seek depositions or additional third-party
                      subpoenas for preliminary injunction.
November 15, 2024     Plaintiffs serve additional third-party subpoenas, if needed.
December 20, 2024     All preliminary injunction discovery, including third-party
                      discovery and depositions, closes.
January 17, 2025      Deadline for Plaintiffs to file an amended motion for
                      preliminary injunction limited to 35 pages, excluding the
                      table of contents, table of authorities, signature blocks, and
                      certificates.
February 7, 2025      Deadline for Defendants to file a response to the amended
                      motion for preliminary injunction limited to 40 pages,
                      excluding the table of contents, table of authorities, signature
                      blocks, and certificates.
February 21, 2025     Deadline for Plaintiffs to file a reply in support of their
                      amended motion for preliminary injunction limited to 15
                      pages excluding the table of contents, table of authorities,
                      signature blocks, and certificates.
March 31, 2025        Deadline for motions to amend pleadings.
March 31, 2025        Deadline for joint status report on remaining discovery
                      needed.

                      The parties shall meet and confer and file a notice regarding
                      completion of Rule 26 and third-party discovery, including
                      the potential need for periodic status conferences, whether
                      the anticipated six months from the preliminary injunction
                      ruling is adequate for completing discovery, and any
                      adjustments to the limits on discovery.



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                             Appendix Requirement

        The parties shall include any materials supporting the amended motion for a

preliminary injunction in an appendix filed as an attachment to their briefs. Each

party may assemble their own appendix as a self-contained document, separate from

the briefs. Each page of the appendix must be consecutively numbered starting at

“1” and continuing sequentially through the last page of the entire appendix (i.e., the

numbering system must not re-start with each succeeding document in the appendix).

Page numbers for an appendix to the reply containing additional supporting

materials, if necessary, should continue the numbering from the earlier appendix.


  So ordered and signed on this
  Jun 12, 2024




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